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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Yaacov Apelbaum et al
Civil Action No. 2:23-cv-11718

Plaintiff

Stephanie Lynn Lambert et al

Defendant

AFFIDAVIT

I, Ty Bailey-Process Server/Motor City Legal Process Servers LLC:, of 607 Shelby st #700 Detroit, in
Wayne, Michigan, MAKE OATH AND SAY THAT:

On 11-09-23 at 9:30am; I attempted to serve upon Stefanie Lambert Suite 2340 Attorney at 500
GRISWOLD STREET, DETROIT, MI, 48226.

No Answer

Documented and Photos/BodyCam Retained On file.

On 11-11-23 at 4:19pm; I attempted to serve upon Stefanie Lambert Suite 2340 Attorney at 500

GRISWOLD STREET, DETROIT, MI, 48226.

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Security Guard on Duty states that Ms.Stefanie Lambert comes in but may come in on the other
side of the building. Security also states that her-name has been removed from building registry.

Security guard escorted me up to the 23rd floor Suite 2340.

No Answer

Documented and Photos/BodyCam Retained On file.

On 11-14-23 at 3pm; I attempted to serve upon Stefanie Lambert Attorney at 500 GRISWOLD
STREET Suite 2340 DETROIT, MI, 48226.

Spoke to Attorney Sanford Schulman at Federal Criminal Attorneys of Michigan PLLC located

at this same Suite 2340 he states that Ms.Stefanie Lambert comes in often.
However she isn’t here. Mr. Sanford Schulman states he cannot accept service of process for her

either.

Stephanie Lambert is evading service. Alternative service is needed.

Documented and Photos/BodyCam Retained On file.

On 11-15-23 at 1:30pm; I attempted to serve upon Stefanie Lambert Attorney at 500
GRISWOLD STREET Suite 2340, DETROIT, MI, 48226.

No Answer

Stephanie Lambert is evading service. Alternative service is needed.

Documented and Photos/BodyCam Retained On file.

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STATE OF MICHIGAN

COUNTY OF WAYNE

SUBSCRIBED AN

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p SWORN TO BEFORE

ME, on the [u.! day of ZL
NOVEMBER _,_ 2028 l] Gieeteard

Ty Bailey-Process Server/Motor City
Legal Process Servers LLC:

Signatu
igna BEL GERLE (Seal)

NOTARY PUBLIC
My Commission expires:

00513/9036

JAZEL HALL
Notary Public - State of Michigan

County of Wayne:
My Commission Expires: see
Acting in the County of, Lari AC

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